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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                   CASE NO. 1:17-cv-21557



  DANIELLE CHRISTINE VENEZIA,

         Plaintiff,

  v.

  CITY OF SOUTH MIAMI, a municipal
  corporation in the State of Florida,
  OFFICER STEVEN LINICK, individually,
  OFFICER JOSE FERMIN LOPEZ, individually,
  and OFFICER MELVRIS LOPEZ, individually,

         Defendants.

  _____________________________________/



                                        COMPLAINT

         Plaintiff, DANIELLE CHRISTINE VENEZIA, by and through undersigned counsel,

  sues Defendants, CITY OF SOUTH MIAMI, OFFICER STEVEN LINICK, individually,

  OFFICER JOSE FERMIN LOPEZ, individually, and OFFICER MELVRIS LOPEZ,

  individually, and alleges:

                                      INTRODUCTION

  1.     This is an action for monetary damages brought pursuant to 42 U.S.C. §§ 1983

  and 1988, the Fourth and Fourteenth Amendments to the United States Constitution, and

  under the law of the State of Florida, against the City of South Miami, and South Miami




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  police officers Steven Linick, Jose Fermin Lopez, and Melvris Lopez in their individual

  capacities.

                                JURISDICTION AND VENUE

  2.     This action is brought pursuant to 42 U.S.C. § 1983, the Fourth and Fourteenth

  Amendment of the United States Constitution, and the laws of the State of Florida.

  3.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, and

  supplemental jurisdiction for state law claims pursuant to 28 U.S.C. § 1367.

  4.     Venue is proper in the United States District Court for the Southern District of

  Florida because it is where all parties reside, and where the events complained of

  occurred.

  5.     All conditions precedent to this action have occurred, including those set forth in

  Fla. Stat. § 768.28.

                                           PARTIES

  6.     At all times material hereto, Plaintiff, Danielle Christine Venezia (“Venezia”) was

  and is a sui juris individual residing in Miami-Dade County, Florida, and a citizen of the

  United States.

  7.     Defendant, City of South Miami (“City”) is a political subdivision of the State of

  Florida, a municipal corporation located in Miami-Dade County, Florida, and at all times

  relevant hereto, the employer of Defendant Officers, Steven Linick, Jose Fermin Lopez,

  and Melvris Lopez.

  8.     At all times relevant hereto and in all actions described herein, Defendant Steven

  Linick (“Linick”) was acting under color of law as a police officer, and in such capacity, as

  the agent, servant, and employee of City.




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  9.     At all times relevant hereto and in all actions described herein, Defendant Jose

  Fermin Lopez (“J.F. Lopez”) was acting under color of law as a police officer, and in such

  capacity, as the agent, servant, and employee of City.

  10.    At all times relevant hereto and in all actions described herein, Defendant Melvris

  Lopez (“M. Lopez”) was acting under color of law as a police officer, and in such capacity,

  as the agent, servant, and employee of City.

                                           FACTS

  11.    On or about December 13, 2014, Venezia was in the passenger seat of her front

  door neighbor Lisa Richardson’s (“Richardson”) vehicle, which was stopped in front of

  Richardson’s property, 6701 SW 63rd AVE, Miami, FL 33143, waiting for the gate of her

  property to open.

  12.    While the vehicle was stationary, Venezia’s fiancé opened the passenger door of

  the vehicle, grabbed Venezia, forced her outside the vehicle, pushed her around and

  yelled at her.

  13.    As Richardson called the South Miami Police Department to report the incident,

  Venezia’s fiancé fled the scene.

  14.    City police officer Linick and his assisting officer, J.F. Lopez, arrived at Venezia

  and Richardson’s neighborhood, and briefly spoke to Richardson and Venezia.

  15.    After Linick and J.F. Lopez spoke to Venezia and Richardson, Venezia and

  Richardson returned to their homes.

  16.    Later in the evening, once Venezia had taken off her shoes to go to bed, Linick

  and J.F. Lopez, returned and entered Venezia’s property without a warrant. Venezia

  opened her front door to inform the officers that her fiancé was not on the property, and




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  that she was going to bed. When she asked the officers to leave, Linick and J.F. Lopez

  reached their hands through the open door, forcibly grabbed Venezia, placed handcuffs

  on her tightly, took her out of her home and through the street barefoot against her will,

  and threw her into the back of their squad car.

  17.    The officers never informed Venezia why they had decided to arrest her, never

  read Venezia her Miranda rights, nor informed Venezia of the charges being filed against

  her.

  18.    The officers drove Venezia to, and confined her behind bars at South Miami Police

  Department’s holding cell, where she remained for several hours before being transported

  to Miami-Dade County’s Turner Guilford Knight Correctional Center (“T.G.K.”).

  19.    At the South Miami Police Department’s holding cell, Linick and J.F. Lopez took

  inventory of Venezia’s property. The officers dropped Venezia’s engagement ring on the

  floor and began kicking it amongst themselves while mocking Venezia. Venezia was

  visibly and mentally distressed by their behavior.

  20.    The floor of the holding cell was cold and because the officers had dragged her

  out of her home shoeless, Venezia was forced to wrap her bruised feet in toilet paper to

  insulate her feet.

  21.    On or about 06:00am in the morning the arresting officers informed M. Lopez about

  the arrest. M. Lopez looked at the toilet paper she was forced to wear to protect her feet,

  yelled at her to her shoes on (despite her being arrested without them) and told the

  officers that she was taking Venezia to jail.

  22.    Venezia was placed in the back of a van by M. Lopez for transport to TGK without

  any safety restraints. M. Lopez drove the transport van in an erratic and dangerous




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  manner, violently swerving from side to side, causing Venezia to hit her head several

  times against the van’s walls, which left her with significant bruises on her face.

  23.    Once at TGK Venezia asked M. Lopez why she had been arrested. M. Lopez

  refused to tell her, and instead told the corrections officers that Venezia was suicidal.

  Venezia was stripped naked, placed in a Ferguson smock, and forced to remain in the

  booking room, half naked and distressed, among male inmates.

  24.    Venezia later learned that she was being charged with Disorderly Intoxication. The

  charges were immediately nolle prossed by the State.

                                            COUNT I
                               False Imprisonment & False Arrest
                                        Florida Tort Law
                                     Against Defendant City

  25.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  26.    On or about December 13, 2014, Linick, J.F. Lopez, and M. Lopez while acting in

  the course and scope of their duties as police officers employed by City arrested Venezia.

  27.    Linick, J.F. Lopez, and M. Lopez and physically deprived Venezia of her freedom

  and liberty, and restrained her movements at her home, in the squad car, at the police

  station, in the transport van and at TGK.

  28.    Venezia did not consent to the aforementioned actions of Linick, J.F. Lopez, and

  M. Lopez, and said actions were against Venezia’s will.

  29.    The restraint of Venezia by Linick, J.F. Lopez, and M. Lopez was unreasonable

  and unwarranted, in that it was not based upon arguable probable cause, nor lawfully

  issued process of Court, and Linick, J.F. Lopez, and M. Lopez did not have a valid warrant

  for the arrest of Venezia.



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  30.    Additionally, while falsely arresting Venezia, officers Linick, F.F. Lopez, and M.

  Lopez used unnecessary and excessive force that resulted in serious injury to Venezia.

  After dragging Venezia barefoot into the squad car, the officers kept Venezia falsely

  imprisoned for several hours in their vehicle and holding cell instead of affording Venezia

  due process of law.

  31.    Pursuant to Fla. Stat. § 768.28, Venezia notified Defendant City of this claim prior

  to filing this action and said claim was not resolved.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees and costs under Florida law; and

         E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances.

                                         COUNT II
                                    Assault and Battery
                                      Florida Tort Law
                                   Against Defendant City

  32.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  33.    In the alternative, if the Court finds that arguable probable cause existed for the

  arrest of Venezia, Defendant City, through its employees Linick, J.F. Lopez, and M.

  Lopez, unreasonably and intentionally caused bodily harm to Venezia by grabbing her,

  cuffing her tightly, and taking her barefoot from her home to the squad car against her



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  will, and later driving the transport van in a manner that inflicted bodily injury to Venezia.

  The above actions resulted in serious bodily injury to Venezia, and was in clear excess

  of any need for force.

  34.    The actions of City, through its employees Linick, J.F. Lopez, and M. Lopez

  aroused fear and an apprehension that a harmful or offensive contact would occur. The

  above mentioned assault and battery was accomplished without consent and against the

  will of Venezia.

  35.    Defendant City is vicariously liable for the tortious acts of its employees that were

  committed within the scope of, and in furtherance of their employment.

  36.    As a direct and proximate result of the acts of City through its employees, Venezia

  sustained severe physical injury, humiliation, emotional distress, pain and suffering,

  incurred medical and out of pocket expenses, and will continue to incur medical expenses

  in the future.

  37.    Pursuant to Fla. Stat. § 768.28, Venezia notified Defendant City of this claim prior

  to filing this action and said claim was not resolved.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees and costs under Florida law; and

         E. Any other such alternative and additional relief that appears to be equitable and

             just under the circumstances.




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                                      COUNT III
                         False Imprisonment and False Arrest
            42 U.S.C. § 1983 Fourth and Fourteenth Amendment Violations
                         Against Defendant Linick, Individually

  38.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  39.    On or about December 13, 2014, Linick arrested Venezia while acting in the course

  and scope of duty as a police officer.

  40.    Linick physically deprived Venezia of her freedom and liberty, and restrained her

  in her movements at her home, in the back of the squad car, and at the police station.

  41.    The aforementioned actions of Linick were against the will and consent of Venezia.

  42.    Linick’s restraint of Venezia was unlawful and unreasonable in that it was not

  based upon probable cause, nor lawfully issued process of the Court, and Linick did not

  have a valid warrant for Venezia’s arrest.

  43.    The false arrest is a violation of Venezia’s Fourth Amendment right to be free of

  unreasonable seizures. Additionally, it is clearly established by law that arrests made

  without probable cause, as in this case, violates the Fourth Amendment. Thereafter the

  continued detention of Venezia constituted false imprisonment and was a deprivation of

  Venezia’s due process of law under the Fourteenth Amendment.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;



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        D. Attorney’s fees and costs under federal law; and

        E. Any other such alternative and additional relief that appears to be equitable and

             just under the circumstances, including punitive damages if warranted.

                                       COUNT IV
                          False Imprisonment and False Arrest
             42 U.S.C. § 1983 Fourth and Fourteenth Amendment Violations
                       Against Defendant J.F. Lopez, Individually

  44.   Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  45.   On or about December 13, 2014, J.F. Lopez arrested Venezia while acting in the

  course and scope of duty as a police officer.

  46.   J.F. Lopez physically deprived Venezia of her freedom and liberty, and restrained

  her in her movements at her home, in the back of the squad car, and at the police station.

  47.   The aforementioned actions of J.F. Lopez were against the will and consent of

  Venezia.

  48.   J.F. Lopez’s restraint of Venezia was unlawful and unreasonable in that it was not

  based upon probable cause nor lawfully issued process of the Court and J.F. Lopez did

  not have a valid warrant for Venezia’s arrest.

  49.   The false arrest is a violation of Venezia’s Fourth Amendment right to be free of

  unreasonable seizures. Additionally, it is clearly established by law that arrests made

  without probable cause, as in this case, violates the Fourth Amendment. Thereafter the

  continued detention of Venezia constituted false imprisonment and was a deprivation of

  Venezia’s due process of law under the Fourteenth Amendment.

        WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:



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        A. Compensatory damages;

        B. Pain and suffering;

        C. Actual damages;

        D. Attorney’s fees and costs under federal law; and

        E. Any other such alternative and additional relief that appears to be equitable and

             just under the circumstances, including punitive damages if warranted.

                                       COUNT V
                          False Imprisonment and False Arrest
             42 U.S.C. § 1983 Fourth and Fourteenth Amendment Violations
                        Against Defendant M. Lopez, Individually

  50.   Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  51.   On or about December 13, 2014, M. Lopez arrested Venezia while acting in the

  course and scope of duty as a police officer.

  52.   M. Lopez physically deprived Venezia of her freedom and liberty, and restrained

  her in her movements at the police station, in the transport van, and at T.G.K.

  53.   The aforementioned actions of M. Lopez were against the will and consent of

  Venezia.

  54.   M. Lopez’s restraint of Venezia was unlawful and unreasonable in that it was not

  based upon probable cause nor lawfully issued process of the Court and M. Lopez did

  not have a valid warrant for Venezia’s arrest.

  55.   The false arrest is a violation of Venezia’s Fourth Amendment right to be free of

  unreasonable seizures. Additionally, it is clearly established by law that arrests made

  without probable cause, as in this case, violates the Fourth Amendment. Thereafter the




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  continued detention of Venezia constituted false imprisonment and was a deprivation of

  Venezia’s due process of law under the Fourteenth Amendment.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees and costs under federal law; and

         E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances, including punitive damages if warranted.

                                        COUNT VI
                                     Excessive Force
                      42 U.S.C. § 1983 Fourth Amendment Violation
                          Against Defendant Linick, Individually

  56.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  57.    In the alternative, if the Court finds Venezia’s arrest to be based on arguable

  probable cause, this cause of action is brought by Venezia against Defendant Linick for

  his use of excessive force under color of law that deprived Venezia of her constitutionally

  protected rights under the Fourth Amendment to the United States Constitution.

  58.    Defendant Linick violated 42 U.S.C. § 1983 by inflicting severe injury upon Venezia

  that was grossly disproportionate to the force necessary to arrest Venezia in violation of

  her rights under the Fourth Amendment to the U.S. Constitution.

  59.    Defendant Linick, while acting in his capacity as a police officer for City, and under

  color of law, did intentionally exert excessive force by grabbing Venezia, cuffing her tightly



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  and taking Venezia out of her house barefoot in such a manner that Venezia suffered

  serious bodily injury.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees under federal law; and

         E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances, including punitive damages if warranted.

                                         COUNT VII
                                      Excessive Force
                       42 U.S.C. § 1983 Fourth Amendment Violation
                        Against Defendant J.F. Lopez, Individually

  60.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  61.    In the alternative, if the Court finds Venezia’s arrest to be based on arguable

  probable cause, this cause of action is brought by Venezia against Defendant J.F. Lopez

  for his use of excessive force under color of law that deprived Venezia of her

  constitutionally protected rights under the Fourth Amendment to the United States

  Constitution.

  62.    Defendant J.F. Lopez violated 42 U.S.C. § 1983 by inflicting severe injury upon

  Venezia that was grossly disproportionate to the force necessary to arrest Venezia in

  violation of her rights under the Fourth Amendment to the U.S. Constitution.




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  63.    Defendant J.F. Lopez, while acting in his capacity as a police officer for City, and

  under color of law, did intentionally exert excessive force by grabbing Venezia, cuffing

  her tightly, and taking Venezia out of her house barefoot in such a manner that Venezia

  suffered serious bodily injury.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees under federal law; and

         E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances, including punitive damages if warranted.

                                       COUNT VIII
                                     Excessive Force
                      42 U.S.C. § 1983 Fourth Amendment Violation
                        Against Defendant M. Lopez, Individually

  64.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  65.    In the alternative, if the Court finds Venezia’s arrest to be based on arguable

  probable cause, this cause of action is brought by Venezia against Defendant M. Lopez

  for her use of excessive force under color of law that deprived Venezia of her

  constitutionally protected rights under the Fourth Amendment to the United States

  Constitution.




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  66.    Defendant M. Lopez violated 42 U.S.C. § 1983 by inflicting severe injury upon

  Venezia that was grossly disproportionate to the force necessary to transport Venezia in

  violation of her rights under the Fourth Amendment to the U.S. Constitution.

  67.    Defendant M. Lopez, while acting in his capacity as a police officer for City, and

  under color of law, did intentionally exert excessive force by leaving Venezia unsecured

  in the back of the transport van and driving erratically in such a manner that Venezia

  suffered serious bodily injury.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees under 42 U.S.C. § 1988; and

         E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances.

                                       COUNT IX
                                  Failure to Intervene
                                   42 U.S.C. § 1983
                    Against Defendants Linick, J.F. Lopez & M. Lopez

  68.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  69.    This cause of action is brought by Venezia against Defendants Linick, J.F. Lopez

  and M. Lopez for their failure to intervene to prevent each other from violating the

  constitutional rights of Venezia. Law enforcement officers have an affirmative duty to




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  intervene when the officer is aware of constitutional violations in their presence and fail

  to take reasonable steps to protect the victim of another officer’s use of excessive force.

  70.    Linick and J.F. Lopez failed to prevent excessive force from being committed

  against Venezia when they had a reasonable opportunity to do so.

  71.    Linick, JF. Lopez and M. Lopez failed to prevent the false imprisonment and false

  arrest of Venezia when Linick and J.F. Lopez had an opportunity to do so at Venezia’s

  home, and again when Linick, J.F. Lopez, and M. Lopez had an opportunity to do so at

  the City holding cell before Venezia was transported by M. Lopez to T.G.K. The

  Defendants’ failure to intervene is a violation of the Fourth Amendment and such is

  actionable under 42 U.S.C. § 1983.

         WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

         A. Compensatory damages;

         B. Pain and suffering;

         C. Actual damages;

         D. Attorney’s fees under federal law; and

         E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances, including punitive damages if warranted.

                                          COUNT X
                        Intentional Infliction of Emotional Distress
                                      Florida Tort Law
                         Against Linick & J.F. Lopez, Individually

  72.    Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.




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  73.   Linick and J.F. Lopez arrested Venezia after they were called to investigate an

  assault by her fiancé. After confining Venezia in the holding cell against her will, Linick

  and J.F. Lopez engaged in extreme and outrageous behavior by intentionally kicking

  around Venezia’s engagement ring in front of her while mocking her, causing Venezia

  severe emotional distress.

        WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

        A. Compensatory damages;

        B. Pain and suffering;

        C. Actual damages;

        D. Attorney’s fees under state law; and

        E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances, including punitive damages if warranted.

                                          COUNT XI
                        Intentional Infliction of Emotional Distress
                                      Florida Tort Law
                               Against M. Lopez, Individually

  74.   Venezia repeats and realleges Paragraphs 1 through 24 above, and incorporates

  them by reference herein.

  75.   After transporting Venezia to T.G.K. against her will, M. Lopez engaged in extreme

  and outrageous behavior by choosing to tell T.G.K. personnel that Venezia was suicidal

  without any indication that Venezia was suicidal, causing Venezia severe emotional

  distress, when, as a direct result of M. Lopez’s suggestion, Venezia was stripped naked,

  placed in a Ferguson smock and forced to remain half naked in the booking room.




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        WHEREFORE, Venezia respectfully requests this Court grant the following relief

  against the Defendant City:

        A. Compensatory damages;

        B. Pain and suffering;

        C. Actual damages;

        D. Attorney’s fees under state law; and

        E. Any other such alternative and additional relief that appears to be equitable and

            just under the circumstances, including punitive damages if warranted.


                                 DEMAND FOR JURY TRIAL

        Venezia demands a jury trial on all issues so triable.


  DATED:       April 26, 2017
                                                  Respectfully Submitted,




                                                  /s/   Christopher Andrew Fleites
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